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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

   NUANCE COMMUNICATIONS, INC.,                        )
                                                       )
                  Plaintiff,                           )
                                                       )   C.A. No. 17-1484-MN
          v.                                           )
                                                       )
   3M HEALTH INFORMATION SYSTEMS,                      )
   INC. and MMODAL LLC,                                )
                                                       )
                  Defendants.                          )

                      NOTICE OF INTENT TO SEAL AND REDACT

       Defendant MModal LLC (“MModal”), by and through its counsel, pursuant to Rule 5.2

of the Federal Rules of Civil Procedure and this Court’s Policy on the Electronic Availability of

Transcripts of Court Proceedings, hereby submits its Notice of Intent to Seal and Redact portions

of the transcript from the September 8, 2021 Teleconference (D.I. 532) in the above-captioned

action. MModal will submit papers in support of this notice promptly.




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 Dated: September 28, 2021




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